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                              UNITED STATES JUDICIAL PANEL
                                           on
                               MULTIDISTRICT LITIGATION


IN RE: UNITED STATES SOCCER FEDERATION
PAY DISCRIMINATION LITIGATION                                                           MDL No. 2890


                                 ORDER DENYING TRANSFER


         Before the Panel: Plaintiffs in the Central District of California action move under 28 U.S.C.
§ 1407 to centralize pretrial proceedings in this litigation in the Central District of California. This
litigation consists of two actions pending in the Central District of California and the Northern
District of California, as listed on Schedule A. Common defendant United States Soccer Federation,
Inc. (U.S. Soccer), and plaintiff in the Northern District of California action oppose centralization.
If the Panel deems centralization appropriate, defendant suggests centralization in the Northern
District of Illinois, and plaintiff in the Northern District of California action expressed support for
both the Northern District of California and the Central District of California.

         On the basis of the papers filed and the hearing held, we conclude that centralization is not
necessary for the convenience of the parties and witnesses or to further the just and efficient conduct
of this litigation. These actions share factual issues arising from allegations that U.S. Soccer has
discriminated against players on its U.S. Women’s national soccer team on the basis of gender. But
only two actions are pending in two adjacent districts, and we find movants have failed to meet their
burden of demonstrating the need for centralization. See In re: Transocean Ltd. Sec. Litig. (No. II),
753 F. Supp. 2d 1373, 1374 (J.P.M.L. 2010) (“where only a minimal number of actions are involved,
the moving party generally bears a heavier burden of demonstrating the need for centralization”).

        We have held that “where a reasonable prospect exists that resolution of Section 1404
motions could eliminate the multidistrict character of a litigation, transfer under Section 1404 is
preferable to centralization.” In re: Gerber Probiotic Prods. Mktg. and Sales Practices Litig., 899
F. Supp. 2d 1378, 1380 (J.P.M.L. 2012). Here, there are two pending or suggested pretrial motions
that could eliminate the need for Section 1407 centralization. Defendant’s motion to transfer the
Central District of California action to the Northern District of California under the first-to-file rule
is pending. And at oral argument, counsel for the Northern District of California plaintiff
represented that she would stipulate to transfer under 28 U.S.C. § 1404 to the Central District of
California.

        Finally, the Panel has held that “centralization under Section 1407 should be the last solution
after considered review of all other options.” In re: Best Buy, Inc., California Song-Beverly Credit
Card Act Litig., 804 F. Supp. 2d 1376, 1378 (J.P.M.L. 2011). Even if these actions are not
transferred to the same district under Section 1404 or the first-to-file rule, this litigation involves
only two actions in two districts. Informal coordination among the relatively few involved attorneys
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and coordination between the involved courts to prevent duplicative proceedings and inconsistent
rulings, therefore, are practical alternatives to centralization.

       IT IS THEREFORE ORDERED that the motion for centralization of these actions is denied.




                                     PANEL ON MULTIDISTRICT LITIGATION




                                                      Sarah S. Vance
                                                           Chair

                                    Lewis A. Kaplan               Ellen Segal Huvelle
                                    R. David Proctor              Catherine D. Perry
                                    Karen K. Caldwell             Nathaniel M. Gorton
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IN RE: UNITED STATES SOCCER FEDERATION
PAY DISCRIMINATION LITIGATION                                 MDL No. 2890

                                    SCHEDULE A

          Central District of California

     MORGAN, ET AL. v. UNITED STATES SOCCER FEDERATION, INC.,
         C.A. No. 2:19-01717

          Northern District of California

     SOLO v. UNITED STATES SOCCER FEDERATION, C.A. No. 3:18-05215
